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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF COLORADO



     SECURITIES AND EXCHANGE
     COMMISSION,

                               Plaintiff,
                                                        Civil Action File No.
                          v.

     MARK RAY; REVA STACHNIW; RON
     THROGMARTIN; CUSTOM
     CONSULTING & PRODUCT SERVICES,
     LLC; RM FARM & LIVESTOCK, LLC;
     MR CATTLE PRODUCTION SERVICES,
     LLC; SUNSHINE ENTERPRISES;
     UNIVERSAL HERBS, LLC; DBC
     LIMITED, LLC,

                                Defendants.


                                     COMPLAINT

           Plaintiff, the United States Securities and Exchange Commission

     (“Commission” or “SEC”) alleges the following:
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                                         OVERVIEW

        1.   This matter involves a cattle Ponzi scheme perpetrated by Mark Ray and

     various entities that he controls. Ray is a repeat offender; he was previously

     barred by the Illinois Secretary of State from offering securities in that state as the

     result of a previous cattle business that operated similar to the Ponzi scheme at

     issue in this case. Despite the bar, Ray solicited and accepted investments from

     residents of Illinois in connection with his current Ponzi scheme.

        2.   Defendants Custom Consulting & Product Services, LLC (“Custom

     Consulting”), RM Farm & Livestock, LLC (“RM Farm”), MR Cattle Production

     Services, LLC (“MR Cattle”), Sunshine Enterprises (“Sunshine”), Universal

     Herbs, LLC (“Universal Herbs”), and DBC Limited, LLC (“DBC Limited”)

     (collectively the “Ponzi Businesses”) are all involved in Ray’s fraudulent scheme.

      Ray used bank accounts in the names of the majority of the Ponzi Businesses to

     facilitate the scheme and to deceive investors into believing that Ray was engaged

     in cattle trading, when, in fact, he was simply using money from new investors to

     repay prior investors.

        3.   Since at least 2014, the Ponzi Businesses raised tens of millions of dollars

     from investors. Certain of the investments were purportedly backed by short-term



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     cattle trading inventories or cattle-trading opportunities that Ray had identified.

     Some investors simply loaned Ray money to be used for the Ponzi Businesses

     without having the loans tied to particular cattle trades. Other investors thought

     they were financing Ray’s various state-licensed marijuana endeavors. Ray

     promised all of these investors high rates of return, usually over short periods of

     times.

        4.    In fact, Ray and the Ponzi Businesses engaged in little cattle trading, and

     significant amounts of the investor money (regardless of which type of investment

     the investor thought he or she was making) was simply used in a Ponzi-like

     manner. In addition to making Ponzi payments to old investors, Ray

     misappropriated investor money and used it to pay for things like flights on private

     jets and his personal expenses.

        5.    The Ponzi scheme involved the offer and sale of unregistered securities in

     the form of investment contracts and promissory notes that Ray advertised to

     investors, some of whom were unsophisticated, primarily through word of mouth.

        6.    Reva Stachniw and Ron Throgmartin substantially assisted Ray and the

     Ponzi Businesses with the fraudulent scheme. Stachniw was the owner and

     manager of RM Farm and Sunshine Enterprises. She opened bank accounts in the



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     names of those businesses, but then she gave Ray permission to use them in

     whatever manner he wanted. Despite numerous red flags, Stachniw would sign

     stacks of blank checks and deliver them to Ray or his employees for use in the

     scheme. She was also the signatory of many of the promissory notes sold as part

     of the scheme. Without Stachniw’s help, Ray would not have been able to run and

     grow the Ponzi scheme, because his bank accounts would have been shut down.

        7.   Throgmartin drafted invoices and emails reflecting non-existent cattle

     trades and sent them to investors. Throgmartin had online access to bank accounts

     in the names of Ray, Custom Consulting and MR Cattle, all of which were used in

     the Ponzi scheme, and with the assistance of Stachniw and an outside accountant,

     he tracked the status of each investor’s account. Without Throgmartin to keep him

     organized and communicate with investors, Ray could not have succeeded in

     running the Ponzi scheme.

        8.   In March 2019, Ray and the Ponzi Businesses ran out of money and the

     Ponzi scheme appears to have collapsed. They do not currently own any cattle as

     far as the Commission has been able to discover, and investors have lost millions

     of dollars. As far as the Commission is aware, the only real assets that remain

     consist of Ray’s marijuana production and distribution operation, which is



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     licensed by the state of Colorado to Universal Herbs. And that business is

     substantially encumbered by debt to taxing authorities, vendors and contractors.

        9.   With Ray’s history of misappropriating funds, millions of dollars’ worth

     of investor losses, and the nature of the fraud, it is imperative that the Defendants

     be enjoined against further violation and that the assets derived from the scheme

     be frozen.

                                       VIOLATIONS

        10. The Defendants have engaged in acts or practices or aided, abetted and

     caused, and, unless restrained and enjoined by this Court, will continue to

     engage in acts and practices that constitute and will constitute or will aid abet

     and cause violations of Sections 17(a)(1), 17(a)(2), and 17(a)(3) of the

     Securities Act of 1933 (“Securities Act”) [ 15 U.S.C. §§ 77q(a)(1), 77q(a)(2),

     and 77q(a)(3)].

        11. The Defendants have engaged in acts or practices or aided, abetted and

     caused, and, unless restrained and enjoined by this Court, will continue to

     engage in acts and practices that constitute and will constitute or will aid abet

     and cause violations of Section 10(b) of the Securities Exchange Act of 1934




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     (“Exchange Act”) [15 U.S.C. § 78j(b)] and subsections (a), (b), and (c) of Rule

     10b-5 thereunder [17 C.F.R. § 240.10b-5 (a), (b), and (c)].

        12. The Defendants have engaged in acts or practices or aided, abetted and

     caused, and, unless restrained and enjoined by this Court, will continue to

     engage in acts and practices that constitute and will constitute or will aid abet

     and cause violations of Sections 5(a) and 5(c) of the Securities Act [15 U.S.C. §§

     77e(a), 77e(c)].

                              JURISDICTION AND VENUE

        13. The Commission brings this action pursuant to Sections 20 and 22 of the

     Securities Act [15 U.S.C. §§ 77t and 77v] and Sections 21(d) and 21(e) of the

     Exchange Act [15 U.S.C. §§ 78u(d) and 78u(e)] to enjoin Defendants from

     engaging in the transactions, acts, practices, and courses of business alleged in this

     complaint, and transactions, acts, practices, and courses of business of similar

     purport and object, for civil penalties and for other equitable relief.

        14. This Court has jurisdiction over this action pursuant to Section 22 of the

     Securities Act [15 U.S.C. § 77v], and Sections 21(d), 21(e), and 27 of the

     Exchange Act [15 U.S.C. §§ 78u(d), 78u(e), and 78aa].




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        15. Defendants, directly and indirectly, made use of the mails, and the means

     and instrumentalities of interstate commerce in connection with the transactions,

     acts, practices, and courses of business alleged in this complaint.

        16. Certain of the transactions, acts, practices, and courses of business

     constituting violations of the Securities Act and the Exchange Act occurred in the

     District of Colorado.

        17. Defendants, unless restrained and enjoined by this Court, will continue to

     engage in the transactions, acts, practices, and courses of business alleged in this

     complaint, and in transactions, acts, practices, and courses of business of similar

     purport and object.

                                    THE DEFENDANTS

        18. Mark D. Ray is a 59 year old resident of Denver, Colorado. Ray is the

     founder and owner of Custom Consulting, Universal Herbs and MR Cattle. In

     2005, Ray was barred from selling securities in Illinois by the Illinois Secretary

     of State as a result of his offer and sale of securities purportedly backed by

     cattle trading.

        19. Ron Throgmartin is a 55 year old resident of Buford, Georgia. He is

     the CEO of a marijuana business named Diego Pellicer. Diego Pellicer has



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     publicly traded stock and has licensed retail locations in Denver and Seattle.

     Throughout the time period described in this Complaint, Throgmartin served as

     Ray’s comptroller and general business consultant.

        20. Reva Stachniw is a 67 year old resident of Galesburg, Illinois. Ms.

     Stachniw is a retired nurse. She was the owner and manager of RM Farm and

     Sunshine. Stachniw opened and controlled bank accounts in the names of RM

     Farm and Sunshine.

        21. Custom Consulting and Product Services, LLC is a Colorado limited

     liability company with its principal place of business in Aurora, Colorado.

     Custom Consulting is controlled by Ray. Ray used Custom Consulting to

     solicit investments purportedly backed by cattle trading and by wholesale

     marijuana transactions. Ray controlled bank accounts in the name of Custom

     Consulting and used them to receive money from and send money to victims of

     the Ponzi scheme.

        22. RM Farm and Livestock, LLC is an Illinois limited liability company

     with its principal place of business at Stachniw’s residence in Galesburg,

     Illinois. Ray and Stachniw used RM Farm to solicit investments purportedly

     backed by cattle trading and by Ray’s marijuana operations. Ray and Stachniw



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     used a bank account in the name of RM Farm to receive money from and to

     send money to the victims of the Ponzi scheme.

        23. MR Cattle Production Services, LLC is a Colorado limited liability

     company with its principal place of business in Denver, Colorado. MR Cattle is

     controlled by Ray. Ray used MR Cattle to solicit investments purportedly

     backed by cattle trading. Ray controlled bank accounts in the name of MR

     Cattle and used them to receive money from and send money to victims of the

     Ponzi scheme.

        24. Sunshine Enterprises is a business name used by Stachniw with a

     principal place of business at Stachniw’s residence in Galesburg, Illinois. Ray

     and Stachniw used a bank account in the name of Sunshine to receive money

     from and send money to the victims of the Ponzi scheme. Sunshine’s bank

     account was also used to fund the operations of Universal Herbs.

        25. Universal Herbs, LLC is a Colorado limited liability company with its

     principal place of business in Denver, Colorado. Universal Herbs is a

     marijuana business with two licensed retail locations in Denver, along with a

     separate licensed marijuana production facility. Ray owns and controls




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      Universal Herbs. Ray extensively commingled the assets of Universal Herbs

      and the other Ponzi Businesses.

         26. DBC Limited, LLC is a Colorado limited liability company with its

      principal place of business in Aurora, Colorado. Ray owns and controls DBC

      Limited. Shortly before the Ponzi scheme collapsed, Ray solicited at least one

      investment through DBC Limited. That investment was purportedly to finance

      a wholesale transaction in CBD oil, a derivative of marijuana.

                             THE FRAUDULENT SCHEME

      Ray Fraudulently Solicits Investments for the Ponzi Scheme

         27. Beginning in at least 2014, Ray solicited investors for his purported

      cattle trading and state-licensed marijuana businesses.

         28. Ray promised investors that he would provide them with returns in the

      range of 10-20% in very short periods of time, usually a few weeks. Ray told

      certain of these investors that they were investing in wholesale, commercial

      cattle trades or wholesale, licensed marijuana transactions. Other investors

      were simply asked to invest in promissory notes with a high rate of return. One

      investor was told he was financing a wholesale, CBD oil transaction.




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         29. Investors in cattle trades were often told specifics about the cattle that

      Ray would be purchasing with their investment money. For instance, Ray

      would tell an investor that he would be purchasing a specific number and type

      of commercial cattle from a specific ranch. Ray would also sometimes tell

      investors that he would send the cattle purchased with their money to a specific

      feed lot for fattening. Several of the ranches and feed lots at which Ray told

      investors he engaged in cattle trading have confirmed to the Commission that

      they did not engage in any cattle trading with Mr. Ray.

         30. In other words, there were, in fact, no cattle to support the vast majority

      of purported investments in cattle trading.

         31. Instead, Ray simply used new investor money to repay prior investors.

         32. Similarly, Ray told some investors that they were financing wholesale

      marijuana transactions whereby he would purchase a large quantity of

      marijuana from a licensed producer and then sell it at a markup to licensed

      retailers.

         33. In fact, Ray used most of that investor money to repay prior investors

      and keep the Ponzi scheme afloat.




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         34. Ray also used the proceeds of his promissory note sales to repay prior

      investors.

         35. Ray instructed some investors to wire money or send checks directly to

      other victims of his scheme. When doing so, he would lie to both victims about

      the purpose of the transfers.

         36. For instance, Ray would instruct Victim A to wire funds to Victim B,

      telling Victim A that the funds were for the purchase of cattle from Victim B.

      Ray would tell Victim B, however, that the funds received from Victim A were

      payment for another cattle trade in which Victim B had previously invested.

         37. Ray had one investor who purchased a promissory note from DBC

      Limited, which was supposed to finance a wholesale CBD oil transaction, wire

      the investment money to an attorney in Denver, purportedly to be held in an

      escrow account. At this point, the Commission does not know what happened

      to those funds, and both Ray and the attorney have refused to return the funds to

      the investor.

         38. Investors would not have invested with Ray had they known that he

      was using their money to repay earlier investors.




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      Ray, Stachniw and the Ponzi Businesses Offered and Sold Unregistered
      Promissory Notes

         39. Since at least 2016, Ray offered and sold promissory notes to investors

      through several of the Ponzi Businesses and individually. The promissory notes

      are not regulated by any other financial regulatory authority.

         40. Some of the notes were issued in the name of RM Farm and signed by

      Stachniw.

         41. Other notes were issued in the name of Mark Ray personally or in the

      name of Custom Consulting, MR Cattle or DBC Limited and signed by Ray.

         42. Some of the notes were convertible into a specific percentage of equity

      in Universal Herbs.

         43. Most, if not all, of the notes were personally guaranteed by Ray.

         44. The promissory notes that Ray, Stachniw and the Ponzi Businesses

      offered and sold were not registered with the Commission.

      Ray and the Ponzi Businesses Offered and Sold Unregistered Investment
      Contracts

         45. Some investors were given formal written contracts or agreements

      documenting their investments. Others had oral agreements with Ray and the



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      Ponzi Businesses that were either undocumented or that were documented in

      text messages and emails.

         46. All of the agreements called for the investor to make an investment of

      money with the expectation of profit.

         47. Sometimes the profit was fixed in advance and other times Ray told the

      investors that the profit would be determined by the final sales price of the

      cattle or marijuana transaction.

         48. At various times, investors provided funds directly to each of the Ponzi

      Businesses, except for Universal Herbs and DBC Limited, which did not have

      bank accounts in their own name so far as the Commission is aware.

         49. At various times, investors received funds directly from each of the

      Ponzi Businesses, except for Universal Herbs and DBC Limited.

         50. Some investors were told that their investments would be pooled with

      the funds of other investors for a particular trade. Others were told that Ray

      would personally invest his own funds along with theirs.

         51. The investors relied on Ray’s skill and knowledge of either the cattle

      industry or the state-licensed marijuana industry to generate their returns.




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         52. Many of the investors knew very little about the cattle industry or the

      state-licensed marijuana industry.

      The Ponzi Businesses Commingled Funds.

         53. With the exception of Universal Herbs and DBC Limited, the Ponzi

      Businesses routinely transferred large amounts of money back and forth among

      their bank accounts using checks and wire transfers.

         54. The vast majority of these transfers did not serve any legitimate

      business purpose or reflect any underlying economic realities.

         55. Rather, Ray used the various entities and bank accounts to hide his

      activities and to give the illusion that he was engaged in actual cattle trading or

      profitably selling state-licensed marijuana.

         56. In general, Ray would have investors send money to accounts

      controlled by him, with those investors’ “returns” coming from accounts

      controlled by Stachniw, or the opposite. Ray usually did not both receive and

      return a particular investor’s funds from the same account.

         57. By using accounts in the name of (and nominally controlled by)

      Stachniw and other accounts controlled by himself, Ray was able to evade

      detection by the fraud departments of the banks. In other words, it would have



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      been obvious to the banks that he was running a Ponzi scheme if all of his

      activities had run through one account or through accounts only in his own

      name.   At the height of the scheme, more than $140 million per month was

      being moved through accounts under the control of Ray and Stachniw.

         58. Stachniw facilitated this deception by, among other things, signing

      stacks of blank checks drawn on the accounts of Sunshine and RM Farm and

      giving them to Ray, his investors and his employees. She further facilitated the

      deception by making wire transfers from the accounts at Ray’s directions.

         59. Stachniw knew or was reckless in not knowing that significant portions

      of the funds deposited into the account of RM Farm came from investors. It

      should have been obvious to her given that she signed the promissory notes

      issued by RM Farm and had access to the bank account.

         60. Some of the blank checks Stachniw signed were used to pay operating

      expenses of Universal Herbs. Those funds mainly came from investors,

      however, not from any operating profits of Universal Herbs.

         61. Stachniw knew or was reckless in not knowing that she was assisting

      Ray in a Ponzi scheme.




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      Throgmartin Substantially Assisted Ray and Stachniw with the Ponzi
      Scheme.

         62. Ron Throgmartin, with the assistance of Stachniw, kept track of which

      investors sent money to which Ponzi Business and vice versa. He often

      communicated with investors on behalf of Ray when they had questions about

      the status of their investments.

         63. Throgmartin also served as the primary drafter of documents used in the

      Ponzi scheme. He sent emails, text messages, invoices and promissory notes

      that he drafted to investors documenting the terms of their investments.

         64. Throgmartin solicited investments in writing from numerous investors

      on behalf of the Ponzi Businesses.

         65. Throgmartin often instructed investors to which accounts they should

      send funds.

         66. When the bank at which RM Farm had its accounts became concerned

      about the volume of transactions in the account, Throgmartin intervened and

      communicated frequently with the bank president to assuage his concerns.

         67. As part of his effort to keep the account of RM Farm open, Throgmartin

      sent the bank president a false cattle inventory.




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         68. Stachniw was copied on the email sending the false cattle inventory.

      She knew or was reckless in not knowing that she and RM Farm did not own

      many of the cattle on the inventory.

         69. In December 2018, Throgmartin also solicited a $5 million investment

      from an investor on Ray’s behalf. The solicitation was accompanied by a

      document titled “Consolidated Personal Financial Statement of Mark Ray As of

      September 30, 2018” that falsely described Ray as having assets worth over $33

      million and as having made a “Gross Profit” of $7.8 million from January to

      September of 2018. The potential investor ultimately declined to invest.

         70. Throgmartin knew or was reckless in not knowing that Ray had not, in

      fact, generated any profit in 2018 and that Ray’s assets were not worth

      anywhere near $33 million.

         71. Throgmartin knew or was reckless in not knowing that Ray and

      Stachniw were running a Ponzi scheme.

      Ray and Stachniw Misappropriated and Misused Investor Funds

         72. Ray used investor funds to pay for personal expenses, such as medical

      bills, flights on private jets and to support his business of raising show cattle.

      These payments were made directly from the Ponzi Businesses.



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         73. Stachniw paid some of her personal expenses from the accounts of RM

      Farm and Sunshine.

         74. Ray and Stachniw also simply transferred investor money to their own

      personal bank accounts (and the accounts of close family members) from the

      accounts of the Ponzi businesses.

         75. Tens of millions of dollars’ worth of investor money is missing and

      unaccounted for.

         76. Ray has no records of the various cattle transactions he purportedly

      engaged in, and he does not have sufficient records from which to reconstruct

      the investors’ flow of funds, particularly given that a significant amount of

      investor funds went directly from one victim to another.

         77. Ray continued to solicit investments after the majority of the Ponzi

      Businesses’ bank accounts were closed.

                                      COUNT I—FRAUD

                         Violations of Section 17(a)(1) of the Securities Act

                                     [15 U.S.C. § 77q(a)(1)]

         78. Paragraphs 1 through 77 are hereby realleged and incorporated herein by

      reference.



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         79. Between in or around 2014 and the present, Ray, RM Farm, Sunshine,

      Custom Consulting, MR Cattle and DBC Limited (the “Offering Defendants”), in

      the offer and sale of the securities described herein, by the use of means and

      instruments of transportation and communication in interstate commerce and by

      use of the mails, directly and indirectly, employed devices, schemes and artifices

      to defraud purchasers of such securities, all as more particularly described above.

         80. The Offering Defendants knowingly, intentionally, and/or recklessly

      engaged in the aforementioned devices, schemes and artifices to defraud.

         81. While engaging in the course of conduct described above, the Offering

      Defendants acted with scienter, that is, with an intent to deceive, manipulate or

      defraud or with a severely reckless disregard for the truth.

         82. By reason of the foregoing, the Offering Defendants, directly and

      indirectly, have violated and, unless enjoined, will continue to violate Section

      17(a)(1) of the Securities Act [15 U.S.C. § 77q(a)(1)].




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                                       COUNT II—FRAUD

               Violations of Sections 17(a)(2) and 17(a)(3) of the Securities Act

                              [15 U.S.C. §§ 77q(a)(2) and 77q(a)(3)]

         83. Paragraphs 1 through 77 are hereby realleged and incorporated herein by

      reference.

         84. Between in or around 2014 and the present, the Offering Defendants, in

      the offer and sale of the securities described herein, by use of means and

      instruments of transportation and communication in interstate commerce and by

      use of the mails, directly and indirectly:

                    a.     obtained money and property by means of untrue statements

      of material fact and omissions to state material facts necessary in order to make the

      statements made, in light of the circumstances under which they were made, not

      misleading; and

                    b.     engaged in transactions, practices and courses of business

      which would and did operate as a fraud and deceit upon the purchasers of such

      securities; all as more particularly described above.




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         85. By reason of the foregoing, Offering Defendants, directly and indirectly,

      have violated and, unless enjoined, will continue to violate Sections 17(a)(2) and

      17(a)(3) of the Securities Act [15 U.S.C. §§ 77q(a)(2) and 77q(a)(3)].

                                        COUNT III – FRAUD

                      Violations of Section 10(b) of the Exchange Act
               [15 U.S.C. § 78j(b)]and Sections (a), (b), and (c) of Rule 10b-5
                    thereunder [17 C.F.R. § 240.10b-5 (a), (b), and (c)]

         86. Paragraphs 1 through 77 are hereby re-alleged and are incorporated herein

      by reference.

         87. Between in or around 2014 and the present, Offering Defendants, in

      connection with the purchase and sale of securities described herein, by the use of

      the means and instrumentalities of interstate commerce and by use of the mails,

      directly and indirectly:

              a.      employed devices, schemes, and artifices to defraud;

              b.      made untrue statements of material fact and omitted to state material

      facts necessary in order to make the statements made, in light of the circumstances

      under which they were made, not misleading; and

              c.      engaged in acts, practices, and courses of business which would and

      did operate as a fraud and deceit upon the purchasers of such securities;



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      all as more particularly described above.

         88. Offering Defendants knowingly, intentionally, and/or recklessly engaged

      in the aforementioned devices, schemes and artifices to defraud, made untrue

      statements of material facts and omitted to state material facts, and engaged in

      fraudulent acts, practices and courses of business. In engaging in such conduct,

      Offering Defendants acted with scienter, that is, with an intent to deceive,

      manipulate or defraud or with a severe reckless disregard for the truth.

         89. By reason of the foregoing, Offering Defendants, directly and indirectly,

      have violated and, unless enjoined, will continue to violate Section 10(b) of the

      Exchange Act [15 U.S.C. § 78j(b)] and Sections (a), (b), and (c) of Rule 10b-5

      thereunder [17 C.F.R. § 240.10b-5(a), (b), and (c)].

              COUNT IV – UNREGISTERED OFFERING OF SECURITIES

                   Violations of Sections 5(a) and 5(c) of the Securities Act
                                  [15 U.S.C. §§ 77e(a), 77e(c)]

         90. Paragraphs 1 through 77 are hereby realleged and are incorporated herein

      by reference.

         91. Offering Defendants offered and sold securities, including promissory

      notes and investment contracts.




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         92. Offering Defendants used interstate transportation, communication or

      mails in connection with the sale of securities.

         93. At the time of the offer and sale of securities, no registration statement

      was in effect as to the securities offered and sold.

         94. By reason of the foregoing, Offering Defendants have violated and, unless

      enjoined, will continue to violate Sections 5(a) and 5(c) of the Securities Act [15

      U.S.C. §§ 77e(a) and 77e(c)].

                            COUNT V – AIDING AND ABETTING

         95. Paragraphs 1 through 77 and 78 through 82 are hereby restated and

      incorporated herein by reference.

         96. Defendants substantially assisted the violations set forth in Count I

      above.

         97. Defendants knew or were reckless in not knowing that they were

      participating in securities law violations when assisting, causing or engaging in

      transactions with or on behalf of the Offering Defendants.

         98. Defendants aided and abetted the violations in Count I above.




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                          COUNT VI – AIDING AND ABETTING

         99. Paragraphs 1 through 77 and 83 through 85 are hereby restated and

      incorporated herein by reference.

         100.       Defendants substantially assisted the violations set forth in Count

      II above.

         101.       Defendants knew or were reckless in not knowing that they were

      participating in securities law violations when assisting, causing or engaging in

      transactions with or on behalf of the Offering Defendants.

         102.       Defendants aided and abetted the violations in Count II above.

                         COUNT VII – AIDING AND ABETTING

         103.       Paragraphs 1 through 77 and 86 through 89 are hereby restated

      and incorporated herein by reference.

         104.       Defendants substantially assisted the violations set forth in Count

      III above.

         105.       Defendants knew or were reckless in not knowing that they were

      participating in securities law violations when assisting, causing or engaging in

      transactions with or on behalf of the Offering Defendants.

         106.       Defendants aided and abetted the violations in Count III above.



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                                  PRAYER FOR RELIEF

            WHEREFORE, the Commission respectfully prays for:

                                               I.

            Preliminary and permanent injunctions enjoining Defendants, their

      officers, agents, servants, employees, and attorneys from violating, directly or

      indirectly, Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule

      10b-5 thereunder [17 C.F.R. §§ 240.10b-5] and Sections 5(a), 5(c), 17(a)(1),

      17(a)(2) and 17(a)(3) of the Securities Act of 1933 (“Securities Act”) [15

      U.S.C. §§ 77e, 77q].

                                               II.

            An order requiring an accounting by Defendants of the use of proceeds of

      the fraudulent conduct described in this Complaint and the disgorgement by

      Defendants of all ill-gotten gains or unjust enrichment with prejudgment

      interest, to effect the remedial purposes of the federal securities laws.

                                              III.

            An order pursuant to Section 21(d) of the Exchange Act [15 U.S.C.

      §78u(d)] and Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] imposing

      civil penalties against Defendants.



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                                             IV.

            An order freezing certain assets of Defendants pending further order of

      the Court.

                                               V.

            An order preventing Defendants from destroying or concealing

      documents until further order of this Court.

                                              VI.

            Such other and further relief as this Court may deem just, equitable, and

      appropriate in connection with the enforcement of the federal securities laws

      and for the protection of investors.

                                 JURY TRIAL DEMAND

              The Commission hereby demands a trial by jury as to all issues that

      may be so tried.

      This 30th day of September, 2019.

                                       Respectfully submitted,

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